                 Case 4:05-cr-00305-SWW          Document 1113                  Filed 11/24/09   Page 1 of 3
PROB 12B
ED/AR (8/2002)
                                                                                                        FILED
                                                                                                      us. DISTKiCT COURT
                                                                                                  EASTE:RN DISTRICT ARKANSAS

                                     United States District Court                                      NOV 242009
                                                         for the
                                        Eastern District of Arkansas                         ~~:~m                   D:; C

                       Request for Modifying the Conditions or Term of Supervision
                                      with Consent of the Offender
                                     (Probatioll Form 49, Waiver ofHearillg is Attac1led)




 Name of Offender: Luetta Faye Garnett                                        Case Number: 4:05CR00305-012 SWW
  Name of Sentencing Judicial Officer:         Honorable Susan Webber Wright
                                               United States District Judge
  Offense:                  Ct. 1: Conspiracy to distribute more than 50 grams of methamphetamine
                            Ct. 2: Conspiracy to launder drug proceeds
  Date of Sentence:         January 12,2007
  Sentence:                 23 months Bureau of Prisons on each count to be served concurrently, 4 years
                            supervised release on each count to be served concurrently, mandatory drug
                            testing, substance abuse treatment, DNA, and $200 special penalty
                            assessment
  Type of Supervision:      Supervised release              Date Supervision Commenced: August 11, 2008
                                                            Expiration Date: August 10,2012
  Asst. U.S. Attorney: Pat Harris                            Defense Attorney: John Stratford
  U.S. Probation Officer: Tabitha L. Mitchell
  Phone No.: 501-604-5277


                                       PETITIONING THE COURT

To modify the conditions of supervision as follows:

            The defendant shall abstain from the use of alcohol throughout the term of supervised
            release.

                                                         CAUSE

Ms. Garnett's term of supervised release commenced on August 11, 2008. She was referred to substance
abuse treatment and successfully completed treatment on December 10,2008. On February 6, 2009, the
Court was notified Ms. Garnett submitted a urine sample which tested positive for amphetamine on
February 2,2009. She signed an admission of drug use form and admitted to using the substance on
February 1,2009. As a result, she was referred to substance abuse treatment. On March 6, 2009, the
Court was notified Ms. Garnett failed to attend substance abuse treatment on February 18,2009. The
Court was also notified Ms. Garnett attended a group session under the influence of alcohol on February
19,2009. She submitted to a breathalyzer which registered a blood a1cohollevel of .005. She admitted
to consuming 3 or 4 beers prior to her counseling session. She successfully completed treatment on
           Case 4:05-cr-00305-SWW          Document 1113          Filed 11/24/09      Page 2 of 3
Prob 12B                                           -2-                           Request for Modifying the
                                                                        Conditions or Terms of Supervision
                                                                              with Consent of the Offender

Name of Offender: Luetta Faye Garnett                             Case Number: 4:05CR00305-012 SWW

May 14,2009.
On October 14,2009, Ms. Garnett reported she was arrested on October 10, 2009, by North Little Rock,
Arkansas, police officers for driving while intoxicated (Case No.: 09-238). According to the arrest
report, officers conducted a traffic stop in which Ms. Garnett was the driver of the vehicle. Officers
noticed Ms. Garnett smelled strongly of alcohol and her eyes were blood shot. She was given a series of
field sobriety checks and submitted to a breathalyzer which registered a blood alcohol level of .185. She
was then placed under arrest. Ms. Garnett reported she drank approximately four or five 22-ounce cans
of beer. She failed to notify the probation office within seventy-hours of law enforcement contact.
Based on Ms. Garnett's arrest, she was referred to Recovery Centers of Arkansas for substance abuse
treatment. On November 9, 2009, Ms. Garnett appeared in the North Little Rock, Arkansas, District
Court. She pled guilty to the charge and was sentenced to 7 days jail time with 6 days suspended and
$1,220 fine/court costs with $200 adjusted for a total of $1,020.

On November 13, 2009, Ms. Garnett agreed to have her term of supervised release modified to abstain
from the use of alcohol throughout the term of supervised release. She signed the attached PROB 49,
waiving her right to a hearing. Her court-appointed attorney, John Stratford, was contacted and is in
agreement with this modification.



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 Tabitha L. Mitchell                                                 arrls
 U.S. Probation Officer

 Date: November 18, 2009
                                                                Assistant U.S. Attorney

                                                                Date:    ) (   ·/20 /'      Or
This form is to be filed with Criminal Docketing as a motion.




THE COURT ORDERS:
[ ] No Action
[ ] The Extension of Supervision as Noted Above
[kr The Modification of Conditions as Noted Above
[ ] Other

                                                           o~=mW~
                                                                Signature of Judicial Officer
                                                                 !t-cJ-Y-() 1
                                                                Date

This form is to be filed with Criminal Docketing as an order and/or petition.
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Prob 128                                         -3-                       Request for Modifying the
                                                                  Conditions or Terms of Supervision
                                                                        with Consent of the Offender

Name of Offender: Luetta Faye Garnett                        Case Number: 4:05CR00305-012 SWW

Approved:




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TLM/dwr

c: Defense Attorney, Johnny Stratford, 400 W. Capitol, Ste. 1700, Little Rock, AR 72201
   Assistant U.S. Attorney, Pat Harris, P.O. Box 1229, Little Rock, AR 72203
